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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

  MIKHAIL FRIDMAN, PETR AVEN, and            )
  GERMAN KHAN,                               )
                                             )
                             Plaint~,        )
                                             )    Case No. 1:17-cv-02041 (RJL)
                      V.                     )
                                             )
  BEAN LLC (a/k/a FUSION GPS) and GLENN      )
  SIMPSON,                                   )
                          Defendants.        )




                    PLAINTIFFS’ SUPPLEMENTAL SUBMISSION
                   IN FURTHER OPPOSITION TO DEFENDANTS’
              RULE 12(b)(6) AND ANTI-SLAPP ACT MOTIONS TO DISMISS




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                        THE 12(B)(6) MOTION SHOULD BE DENIED

        At the September 26, 2018 hearing, Defendants primarily argued that the complaint is

rendered deficient by its purported failure to plead that Defendants published the defamatory

statements with “actual malice.” In seeking to foist that pleading burden upon Plaintiffs,

Defendants contend that Plaintiffs should be adjudged as liniited public figures, now, before the

conduct of any evidentiary procedures    —   and then argue that Plaintiffs’ purported public figure status

triggers such a pleading burden. But as explained below, that is wrong for four reasons. First, except

in circumstances not present here, a defamation plaintiff is not saddled with a burden to plead the

defendant’s actual malice: actual malice is an affirmative defense which by definition has not yet been

pled 4y the defendant, much less established, at the time the complaint is filed. Seconc4 determining

whether a plaintiff is a liniited public figure requires defining the pertinent “controversy” that gave

rise to the defamation. That determination, and whether the Plaintiffs thrust themselves into that

controversy, present mixed questions of law and fact that are appropriately made after the answer is

filed and discovery conducted. Third, if Plaintiffs’ public/private figure status were to be determined

now, before discovery, the conclusion should be that Plaintiffs are not limited public figures. That is

so whether the controversy is defined as alleged Russian interference in the 2016 presidential

election, or instead as the allegations of the defamatory report   —   that Plaintiffs purportedly have a

corrupt relationship with Vladimir Putin. Fourth, although Plaintiffs did not bear a burden to plead

Defendants’ actual malice, the complaint nevertheless does so.

Public Figure Status Is An Affirmative Defense

        Although Plaintiffs previously supplied the Court with authority holding that public figure

status is an affirmative defense, Defendants have persisted with a contrary line of argument, going

so far as to contend that “the affirmative-defense piece is just dead wrong. It [public figure status] is




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an element of defamation.” Tr. at         431   To the contrary, the “affirmative-defense piece” of Plaintiffs’

argument is solidly grounded in controlling authority. While a defendant’s “fault” in publishing a

challenged statement is always an element of a defamation claim, a defendant’s “actual malice” is

not. See, e.g., Oparaugo v. Watts, 884 A.2d 63, 76 (D.C. 2005) (listing elements of defamation to

include “that the defendant’s fault in publishing the statement amounted to at least negligence”).

Proof of a defendant’s actual malice can become an evidentiary burden if and only if the court

determines that a plaintiff is a general or limited purpose public figure. And, except in

circumstances not present here, the court should not make that determination before a defendant

asserts as an affirmative defense, in his answer, his contention that the plaintiff is a public figure.

See, e.g., C/yburn v. News World Commc’ns, 705 F. Supp. 635, 639 (D.D.C. 1989) (explaining that, on

summary judgment, “[tjo show that plaintiff is a limited purpose public figure, defendants must satisfy

three criteria” (emphasis added)), ajffd, 903 F.2d 29 (D.C. Cir. 1990); Lohren~ v. Donnel!y, 223 F. Supp.

2d 25, 40, 58 (D.D.C. 2002) (granting defendant summary judgment on defamation claim where

defendant established plaintiffs public figure status, one of three “defenses” asserted), qff’d, 350 F.3d

1272 (D.C. Cir. 2003); Schultz v. Reader’s Dz~gestAssn., Inc., No. 770310, 1977 U.S. Dist. LEXIS 12563,

*6 (E.D. Mich. 1977) (“The defense that a plaintiff is a ‘public figure’ is an affirmative defense” in a

defamation case and “the burden is on the defendant to plead and prove [its] elements”);

Kindergartners Count v. Demoulin, No. 00-41 73, 2003 U.S. Dist. LEXIS 2129, *2 (D. Kan. Feb. 11,

2003)   (“. . .   Wheeler’s ‘public figure’ affirmative defense to DeMoulin’s defamation counterclaim.”).

          Because public figure status is an affirmative defense, a defamation plaintiff does not

ordinarily bear a burden to plead facts in his complaint supporting the defendant’s actual malice.

Instead, the defendant must plead the public figure affirmative defense and then shoulder the initial

proof burden that comes with it       —   to prove the plaintiff’s general or limited public figure status.

Krauss v. Globe Int’l, Inc., 251 A.D.2d 191, 192 (1st Dep’t 1998) (“[T]he public-figure determination

 “Tr” refers to the transcript of the September 26, 2018 oral hearing on Defendants’ pending motions.

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should properly be made by the court placing the burden of proof on the defendant.” (citation

omitted)). That conclusion is mandated by the well-established principle that plaintiffs are “not

required to negate an affirmative defense in [their] complaint.” F~yin<g Food Group, Inc. v. NLRB, 471

F.3d 178, 183 (D.C. Cit. 2006); see also Kim v. United States, 632 F.3d 713, 718-19 (D.C. Cit. 2011)

(concluding that plaintiff need not plead exhaustion of statutory remedies under Taxpayer Bill of

Rights because failure to exhaust is affirmative defense).

        To be sure, under a narrow exception to these principles, an “affirmative defense may be

raised by pre-answer motion under Rule 12(b),” but only “when thefacts that <give rise to the defense are

clearfrom theface ofthe complaint.” Smith-Hqynie v. District of Columbia, 155 F.3d 575, 578 (D.C. Cit.

1998) (emphasis added); Kel!y-Brown v. Winfreji, 717 F.3d 295, 308 (2d. Cit. 2013). (“[When]

affirmative defense[s]   ...   require[] consideration of facts outside of the complaint [they are]

inappropriate to resolve on a motion to dismiss. Affirmative defenses may be adjudicated at this

stage in the litigation, however, where the facts necessary to establish the defense are evident on theface

ofthe complaint.”) (emphasis added); Biro v. Conde’Nast, 963 F. Supp. 2d 255, 270 (S.D.N.Y. 2013)

(holding that affirmative defense of public figure status could be determined at motion to dismiss

stage where question of plaintiff’s private or public figure status could “be determined based upon

the pleadings alone”) (emphasis added)), aFd, 807 F.3d 541, 544-45 (2d Cit. 2015).

        At oral argument, Defendants failed to recognize these clearly established principles. That is,

having failed to point out any “facts that give rise to the defense” in the complaint, even after being

challenged to do so, see Tr. at 36-37, they contended, against the crushing weight of the above-cited

authority (and without contrary authority), that public figure status is not an affirmative defense.

        However, consistent with Smith-Hqynie, courts may rule on the defamation plaintiff’s public

figure status at the motion to dismiss stage only if a plaintiff’s complaint concedes that defense or

the plaintiff otherwise concedes the facts that make him a public figure as a matter of law. In Parisi

v. Sinclair, 845 F. Supp. 2d 215, 218 n.2 (D.D.C. 2012), for example, this Court expressly noted that
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“Plaintiffs concede for the purpose of this motion [to dismiss] that plaintiffs are limited public

figures and subject to the actual malice standard.” Simiarly, in Deribaska v. Assodated Press, 282 F.

Supp. 3d 133 (D.D.C. 2017), the Court entertained a public figure affirmative defense on a 12(b)(6)

motion where the plaintiff failed to dispute any material facts asserted by defendants in their

discussion of plaintiff’s role in the relevant controversy.

         Cases from other circuits resolving public figure status on 12(b)(6) motions are generally

consistent with the Smith-Hqynie principle. For example, in Michel v. 1~JYP Holdings, Inc., 816 F.3d 686,

702 (11th Cir. 2016), the plaintiff, who described himself in his pleading as a “Grammy-winning

artist” and “acclaimed philanthropist,” never disputed that he was a public figure for purposes of the

pertinent controversy (his failure to perform at a charity concert). It was only for that reason that it

was arguably appropriate for the court to consider, at the motion to dismiss stage, whether the

plaintiff should be subject to an actual malice standard. See a/so Pzppen v. NBC Universal Media, LLC,

734 F.3d 610, 614 (7th Cir. 2013) (noting that former professional basketball player conceded public

figure status on 12(b)(6) motion); Schat~ v. Republican State Leadership Comm., 669 F.3d 50, 55 (1st Cir.

2012) (noting that elected official conceded public figure status for 12(b)(6) motion); Biro, 963 F.

Supp. 2d at 271 (finding public figure status could be determined at pleading stage where plaintiff

pleaded that “he was a leading authority” on art authentication who had published and lectured

extensively on topic, which was also undisputed topic of controversy).

        But where, as here, the plaintiffs’ public figure status cannot “be determined on the face of

the pleadings alone,” Biro, 963 F. Supp. 2d at 270, and the plaintiffs vigorously dispute their

purported public figure status, the courts have consistently ruled on the public figure issue at the

summary judgment stage or later, after both sides have had an opportunity for discovery, see, e.g.,

Lohren~ 223 F. Supp. 2d at 37 (granting summary judgment to defendants on affirmative defense of

public figure status); Tavoulareas v. Piro, 817 F.2d 762, 775 (D.C. Cir. 1987) (holding, based on full

trial record, that plaintiff was limited purpose public figure); Wa/c/baum v. Fairchild Publ’ns, Inc., 627
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F.2d 1287, 1296-98 (D.C. Cir. 1980) (affirming public figure determination made at summary

judgment stage); Jankovic v. Int’l Crisis Gip., 72 F. Supp. 3d 284 ~D.D.C. 2014) (granting summary

judgment where defendant “established that the plaintiff is a limited-purpose public figure”), ajfd,

822 F.3d 576 (D.C. Cir. 2016).

        Here, Plaintiffs dispute that they are limited public figures for purposes of the controversies

that gave rise to the publication of CIR 112 and made no statements in their complaint or motion

papers that conflict with that position. Defendants therefore must raise public figure status as an

affirmative defense in their responsive pleading and then bear the burden of proving that defense.

See Lohren~ 223 F. Supp. 2d at 37; C/yburn, 705 F. Supp. at 639. As Defendants have not even

answered the complaint, it is premature for the Court to determine Plaintiffs’ public figure status.

        At oral argument (and in their previous papers) Defendants made three contrary arguments.

First, they claimed that the Supreme Court’s holdings in Iqbal and Twomb~y somehow changed a

defamation plaintiff’s initial pleading burden. See Tr. at 44. Second, they argued that Plaintiffs’

public figure status has been “already adjudicated,” Tr. at 6, thirteen years ago in OAO Alfa Bank v.

Centerfor Pith/ic Int~gri~’y, 387 F. Supp. 2d 20 (D.D.C. 2005) (“OAO”) and more recently by Judge

Epstein in IFridman v. Steele, 2018 CA 002667 B (D.C. Sup. Ct. August 20, 2018) (Doc. 34) (“Steele”).

Finally, because Plaintiffs have received media attention in connection with their businesses,

Defendants ask the Court to presume that Plaintiffs are limited public figures for purposes of the

controversies that gave rise to the defamation. Those arguments are wrong.

        The Iqbal/Twomb/yAr~gument~ In court, Defendants argued that defamation plaintiffs “have

to plead actual malice.   .   .   in line with Iqbal and Twomb~’y.” Tr. at 44. To the contrary, neither case

says that or has anything to do with the well-settled principle that a defamation plaintiffs public

figure status is an affirmative defense (or says anything else about “actual malice”). Instead, Twomb/y




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    concerned a civil antitrust claim2 and Iqbal concerned a Biven.~ claim. In Iqbal, the Supreme Court

    applied Twomb/y ‘s “plausibility” pleading standard to the “clear” requirement borne by plaintiffs

    asserting a Bivens “claim [of] invidious discrimination in contravention of the First and Fifth

    Amendments” to “plead.              .     .   that the defendant acted with discriminatory purpose.” Ashcroft v.

    Iqbal, 556 U.S. 662, 676 (2009). The Court concluded that the complaint was inadequate because it

    did “not contain any factual allegation sufficient to plausibly suggest petitioners’ discriminatory state

    of mind.” Id. at 683. The reason why this holding is of no aid to Defendants is obvious: Iqbal was

required by preexisting law to plausibly plead the defendants’ discriminatory state of mind                         —   a

mandatory element of a Bivens claim                    —   and he did not, whereas the Plaintiffs in this case are not

required by any preexisting law to anticipate and plausibly plead around any affirmative defense that

Defendants may later assert in their answer, including the affirmative defense that Plaintiffs are

public figures. See Davis v. Indiana State Police, 541 F.3d 760, 763 (7th Cir. 2008) (citing Twomb/y in

support of Plaintiff’s argument that “[c]omplaints need not anticipate, and attempt to plead around,

potential affirmative defenses”).

             Plaint~ffi’ Public Figure Status In This Case Has Not Been ‘fAlreadj Adjudicated:” Citing a decision

rendered in 2005 by Judge Bates in OAO, and more recently, by D.C. Superior Court Judge Epstein

in Steele, Defendants argued that Plaintiffs are required to plead Defendants’ actual malice on the

theory that Plaintiffs’ public figure status was “already adjudicated” in those two cases. Tr. at 6. But

whether an issue has been previously adjudicated in a fashion that requires other courts to adopt

that adjudication depends on the application of the doctrine of “issue preclusion.” A brief analysis

illustrates why that doctrine does not apply to the OAO or Steele cases.

             OAO simply did not adjudicate the issue presented in this case                 —   whether Plaintiffs are private

or ]irnited public figures in connection with the controversy that gave rise to Defendants’ publication


2    BeILAtI. Coip. v. Twornb/y, 550   U.S.       544 (2007).
     Bipens v. Six Unknown Named Agents, 403 U.S. 388 (1971).

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 of CIR 112 in 2016. See, e.g., New Hampshire v. Maine, 532 U.S. 742, 748-49 (2001) (issue preclusion

 “foreclose[s] successive litigation of an issue of fact or law actually litigated and resolved” in

previous case). OAO involved defamation claims asserted by Plaintiffs Fridman and Aven [but not

Khanj based on an article dated August 2, 2000 titled “Cheneji led Hal/iburton to feast atfederal

trough/State department questions deal with Jirm linked to Russian mob.” The OAO court’s ruling on

summary judgment that Plaintiffs Fridman and Aven were public figures in connection with the

controversy that gave rise to the defamatory statements published in 2000 simply did not resolve the

question of whether Plaintiffs are limited public figures in connection with the controversy that gave

rise to the defamatory report at issue here          —   a report dated September 14, 2016 titled “RUSSIA/US

PRESIDENTIAL ELECTION: KREMLIN-ALPHA GROUP COOPERATION.”4

          Nor is Judge Epstein’s decision in Steele entitled to preclusive effect. First, Judge Epstein did

not dismiss the complaint in Steek on the basis urged by Defendants here                   —   that the complaint failed

to plead the defendants’ actual malice. Instead, applying the burden-shifting methodology of the

D.C. Anti-SLAPP Act (the “Act”),5 a statute whose procedures conflict with the Federal Rules of

Civil Procedure and which may therefore not be applied in federal court,6 Judge Epstein concluded

that the plaintiffs had failed to adduce sufficient evidence (prior to the conduct of any discovery).

Moreover, Judge Epstein did not make a fmding on the precise issue on which defendants bear the

burden here     —   whether Plaintiffs are limited purpose public figures. Rather, Judge Epstein

concluded “that Defendants have made apr/ma facie case that.. Plaintiffs are limited-purpose public
                                                                               .




~ Should Defendants assert a “public figure” affirmative defense in their answer, and if and when the time comes for the
Court to rule on that issue, Defendants are ultimately unlikely to benefit from Judge Bates’ decision on the public figure
question in OAO. The defamatory statements in this case arose from a focus on the 2016 presidential election and the
statements themselves focus on Plaintiffs’ alleged relationship with Vladimir Putin, whereas the O.AO article long
preceded the 2016 election and it never mentions Putin in relation to the Plaintiffs, or otherwise.
   See Competitive Enter. Inst. u. Mann, 150 A.3d 1213, 1232 (D.C. 2016) (describing “burden-shifting” nature of the Act); id.
at 1238, n.32 (“[‘vVje agree with Abbas that the special [Anti-SLAPP] motion to dismiss is different from summary
judgment in that it imposes the burden on plaintiffs and requires the court to consider the legal sufficiency of the
evidence presented before discovery is completed.”); id. at 1237 (Anti-SLAPP Act requires “a reversal of the allocation
of burdens for dismissal”).
6 SeeAbbas v. Forei,gn Po/i~y Gip., LLC, 783 F.3d 1328, 1332 (D.C. Cir. 2015).


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 figures.” Steele at 18. A primafacie case that Plaintiffs were limited public figures (according to Judge

 Epstein’s ruling, which awaits appellate review) is not remotely the same thing as the conclusion that

 Defendants must persuade this Court to reach             —   that Plaintiffs are public figures. 2 MCCORMICK ON

 EVIDENCE,     ~ 336, 338 (7th ed. 2013) (explaining that aprimafacie showing is a lower burden than,

 for example, a preponderance of the evidence). In sum, the Steele court never considered, much less

 “actually decided,” that Defendants had met their burden to prove that Plaintiffs are public figures.

 See RESTATEMENT (SECOND) OFJUDGMENTS ~ 28, note on subsection ~ (“~p]reclusive effect

 should not be given to the first determination when the party sought to be [pre]cluded had a heavier

 burden (or his adversary had a lighter burden) in the first proceeding than in the second.”).

         Furthermore, as the D.C. Circuit held in Abbas, the Act’s burden-shifting scheme is

inconsistent with the Federal Rules of Civil Procedure. That defeats Defendants’ effort to assign

preclusive effect to the findings made by Judge Epstein under the prism of the Act’s burden shifting

procedure. Otherwise, this Court would be giving preclusive effect to a determination made using

procedures that may not be used in federal court.

        Judge Epstein’s decision may not be afforded preclusive effect for the additional reason that

it is subject to a pending appeal and therefore not yet fmal.7 In a federal diversity action, a state [or

D.C. Superior Court] determination may only be given preclusive effect when, among other

requirements, “D.C. law would give the [determination] of the Superior Court preclusive effect.”

Smith v. District of Columbia, 629 F. Supp. 2d 53, 58 (D.D.C., 2009). Under D.C. Law, among other

conditions to the application of issue preclusion, the issue must have been determined in a “final

judgment on the merits.     .   .   after a full and fair opportunity for litigation by the parties.” Patton v.

Klein, 746 A.2d 866, 869 (D.C., 1999)(emphasis added). See also Martin v. Malhoy4 830 F.2d 237, 264

(D.C. Cit. 1987) (observing that “according preclusive effect to a judgment from which an appeal

has been taken    fl risks denying relief on the basis of a judgment that is subsequently overturned”).
 Attached are copies of Plaintiffs’ notice of appeal and the November 6, 2018 D.C. Court of Appeals scheduling order.

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Here, to the extent any issues pertinent to this case were decided by Judge Epstein, his

determinations, subject to appeal, are not final and therefore may not be afforded preclusive effect.

         P/aint~/fr’ Genera/Media Presence Does Not Relieve Defendants Of Their Burden To PleadAnd Prove

Public Fi~gure Status: Lastly, having failed to identify any content in Plaintiffs’ complaint that concedes

public figure status, and having failed to identify any authority that precludes Plaintiffs from

vigorously disputing their purported public figure status, Defendants take resort in a reference to the

media’s coverage of the Plaintiffs, as if that were a basis for jettisoning the timeworn principle that

public figure status is an affirmative defense. It is not. Instead, where, as here, Defendants argue

that Plaintiffs are limited public figures, the Court must undertake a “fact-intensive” inquiry. Doe

No. 1 v. Burke, 91 A.3d 1031, 1041 (D.C. 2014); Waldbaum, 627 F.2d at 1293 (“[A] court analyzing

whether a given plaintiff is a public figure must look at the facts, taken as a whole.    .   .   .“).   A fact-

intensive inquiry is more than a collection of newspaper articles or Google hits; it requires an

examination of evidence. See, e.g., Gert~ v. Welch, 418 U.S. 323, 352 (1974) (explaining that limited

public figure determination requires “looking to the nature and extent of an individual’s participation

in the particular controversy giving rise to the defamation”). Respectfully that examination must be

undertaken after discovery is completed. See, e.g., C/yburn, 705 F. Supp. at 639 (deciding plaintiff’s

public figure status on motion for summary judgment and placing burden on defendants to show

plaintiff meets public figure criteria).

Plaintiffs Are Not Public Figures For The Controversies Here

        Even fit were appropriate for the Court to make a public figure determination at this

juncture, Plaintiffs are not public figures for the “particular controversy giving rise to the defamation.”

Gert~ 418 U.S. at 352 (emphasis added); accord Waldbaum, 627 F.2d at 1292 (quoting Ibid). Here,

Waldbaum ‘S standard, that a court must look at the “specific questions” people were “discussing”

and the press was covering at the time the defamatory statements were made        —   in 2016      —     requires

the conclusion that the relevant controversy was alleged Kremlin interference in the 2016
                                                    -9-
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    presidential election. See, e.g., Paul Musgrave, Whj Would Russia Inte~fere in the US Election? Because

    Sometimes it Works, WASHINGTON POST, Guly 26, 2016) ;8 Jeff Stein, Vladimir Putin ~t Russia: Will it

    Rock America ‘~r Vote? NEWSWEEK (Oct. 22, 201 6);~ David E. Sanger, Har~ Reid Cites Evidence of

    Russian Tampering in U.S. Vote, and Seeks F.B.I. Inquiry, NEW YORK TIMES (Aug. 29, 201 6).b0 Looking

    at that question through the lens of Gert~’s “giving rise to” requirement leads to the same conclusion

—    the reason CIR 112 was published to third parties was because it was one of the seventeen reports

in the “Dossier” shared with media outlets and others because of significant interest in possible

Russian interference in the U.S. Presidential Election            —   a subject covered in detail by most of the

other dossier reports. See, e.g., Compi. nn. 2, 3, 5 (citing to articles in MOTHERJONES, YAHOO NEWs,

and BUzzFEED referencing or republishing the Dossier). Even Defendants grudgingly admit as

much. See Defs.’ Mot. to Dism. at 33-34 (averring that Defendants’ briefings on Dossier to media

focused on Russian election interference and possible Trump campaign collusion, not Plaintiffs).

            Assuming, as Plaintiffs urge, that the relevant public controversy is alleged Kremlin

interference in the 2016 presidential election, Defendants have not pointed to any evidence that

Plaintiffs have “thrust” themselves into the “forefront” of debate on that topic. Gert~ 418 U.S. at

352; Waldbaum, 627 F.2d at 1297. Not a single article referenced in Defendants’ motion papers or

mentioned at oral argument supports the notion that Plaintiffs thrust themselves into the debate

about purported Russian interference in the 2016 presidential election. Indeed, Plaintiffs played no

role in and did not seek to shape the outcome of that debate. Thus, the Court must conclude that

Plaintiffs are not limited public figures for purposes of election interference.11



8    https://www.washingtonpost.com/posteverything/wp/2016/07/26/why-would-russia-interfere-in-the-u-s-election-
because-it-usually-works/?noredirect=on&utm_term= .db62b73 fbc70.
     https://www.newsweek.com/russia-hackers-putin-wikileaks-trump-clinton-sanders-kremlin-guccifer-512679.
10    https://wuw.nytimes.com/201 6/08/30/us/politics/harry-reid-russia-tampering-election-fbi.html.
~ Given that Plaintiffs have not thrust themselves into the relevant controversy, there is no need to reach the third step
of the Wa/c/baum test — the germaneness of each defamatory statement to the controversy. Should the Court reach that
question, the statements relating to bribery and corruption are not germane to the election interference.

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            At the hearing, Defendants argued that the relevant controversy is instead the purportedly

broad controversy of “the relationship betrveen Russian oligarchs and the Russian Government” Tr.

at 9. But Defendants failed to explain how that broad controversy “gave rise” to the writing and

circulation of CIR 112        —   the Gert~ standard for defining a controversy. In any event, Defendants’

making of this argument underscores how discovery may enhance the Court’s ability to make the

most accurate factual determination on that question. On the one hand, if discovery reveals that

Defendant Simpson asked Christopher Steele to produce a report about Plaintiffs because of

Simpson’s general interest in the relationship between “oligarchs and the Russian government,” that

might provide some support for Defendants’ proposed definition of the controversy. But, more-

likely, if discovery reveals that Simpson’s request for the report about Plaintiffs arose from

Simpson’s engagement by the Clinton campaign and the DNC to create political opposition material

related to the 2016 presidential election, that factual record would provide evidence for Plaintiffs’

proposed defmition of the controversy.’2

           At oral argument, Defendants criticized Plaintiffs’ defmition of the relevant controversy as

“ignor[ingj the content of CIR 112.” Tr. at 8. Plaintiffs have two responses. First, as explained

above, the content of the defamatory statement does not necessarily defme the controversy, as

under Gertz, a controversy can “give rise to” defamatory statements whose content is different from

the subject matter of that controversy. Indeed, Wa/dbaum does not say “look at the defamatory

language to defme the public controversy.” It instructs courts that “[tjo determine whether a

controversy indeed existed and, if so, to define its contours, the judge must examine whether

persons actually were discussing some specific question.” 627 F.2d at 1297.




12   Plaintiffs contend that Defendants were not hired to investigate the relationship between the Russian state and
Russian oligarchs, but to dig up dirt on a U.S. political candidate, including whether his campaign colluded with Russia
to interfere in the U.S. election. See, e.&, Compi. ¶ 2.


                                                            —11—
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        But second, even   ~   using Defendants’ proposed methodology, the “content of’ the

defamatory statement were to defme the controversy, that would not aid Defendants either. The

summary and detail sections of CIR 112 do not discuss the general issue of the relationship between

oligarchs and Russia, and instead make narrower allegations that Plaintiffs have a corrupt

relationship with Vladimir Putin. But neither at oral argument nor in their papers filed to date have

Defendants offered ai~y evidence that Plaintiffs publicly thrust themselves into a discussion about

whether or not they have a bribery-based relationship with Putin. In sum, whether the controversy

is defined as either the issue that likely gave rise to CIR 112 [Russian electoral interference] or as the

issue that CIR 112’s content addresses [Plaintiffs’ purported bribery of Putin], in neither formulation

of the controversy is it appropriate to deem Plaintiffs as public figures    —   especially pre-discovery.

Even If It Were Appropriate To Saddle Plaintiffs With The Burden To Plead Actual Malice,
They Have Done So

        Even assuming the Court were to conclude that Plaintiffs are limited public figures, the

Court would nevertheless have to deny the 12(b)(6) motion. As explained in Plaintiffs’ opposition

papers, and contrary to Defendants’ claims at oral argument, Plaintiffs have plausibly pled actual

malice. See Compl.   ¶~J 26-27 (Doc.   17). Even where defamation plaintiffs are required to plead facts

supporting a defendant’s actual malice, ~ when the plaintiff admits public figure status, courts have

been willing to “infer actual malice from objective facts.” Biro, 807 F.3d at 545. For example, such

an inference is permitted where a “defendant provides no source for the allegedly defamatory

statements,” ibid., a fact that Plaintiffs pled here, see Compl.   ¶ 4 (averring that CIR 112 was not
verified and that its content was provided by unidentified sources). Similarly, actual malice may be

inferred where the defamatory report was “published despite ‘obvious [specified] reasons to doubt

the veracity of the informant or the accuracy of his reports’ or despite the ‘inherently improbable’

nature of the statements themselves.” Biro, 807 F.3d at 545 (alteration in original) (citation

omitted). Here, there are at least two sets of facts that constitute reasons to doubt the veracity of


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the defamatory statements in CIR 112. First, with regard to the allegation that Plaintiffs used an

Alfa employee, Govorun, as a “bag man” to deliver cash bribes, the Complaint pleads that Govorun

was not an Alfa employee at the time of the alleged act of bribery. Compl.   ¶ 25.       Second, while the

headline of CIR 112 suggests that Plaintiffs cooperated with the Kremlin in connection with the

2016 presidential election, the absence of anj information in the body of CIR 112 to support that

defamatory headline is a fact supporting “the inherently improbable nature of the statement[]” in the

headline. Further permitting an inference of actual malice, the Complaint pleads that Defendants

worked closely with Steele, who admitted that “he did not interview his sources      .   .   .   gathered his

information through ‘intermediaries’ and ‘subsources,” and that “as much as 3O% of the Dossier’s

content may not be ‘accurate.” Compl.    ¶ 13.   Moreover, Plaintiffs alleged that “Defendants could

easily have removed CIR 112 from the Dossier before they started peddling it to the media and

journalists in September and October 2016” but “chose not to do so.” Compl.       ¶ 4.
        Defendants’ subsequent statements underscore the likelihood that at least some of the

defamatory statements were published with actual malice. For example, Defendants acknowledge

that they had no factual support for the implication in the headline of CIR 112. Defs.’ Mot. to

Dism. at 17 (“The body of [CIR 112] makes clear that its author did not assert any involvement or

cooperation by the Alfa Group in the U.S. presidential election.”). In sum, even if the Court were to

conclude that Plaintiffs bore a burden to plead facts supporting an inference of actual malice,

Plaintiffs have done so.

                    THE ANTI-SLAPP MOTION SHOULD BE DENIED

       At oral argument, Defendants candidly conceded that they were “swimming uphill on the

application of the And-SLAPP Act” in this case. Tr. at 22. Indeed, there are three distinct reasons

why Defendants’ Anti-SLAPP motion must be denied: (a) Defendants filed their motion after the

expiration of the statutory deadline; (b) the Act cannot be applied because its procedures conflict

with the Federal Rules, as held by the D.C. Circuit and by three D.C. District Court judges; and (3)
                                                  -13-
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 Defendants’ invocation of the Act requires them to show that the defamatory statements were made

 in connection with “communicating views to members of the public,” but Defendants, by their own

 admission, were not communicating any views by their publication of the statements that defame

Plaintiffs.

            The Motion Was Filed Late: The Act requires, without exception, that a motion be filed

“within 45 days after service of the claim.” D.C. Code ~ 16-5502(a). Here, Defendants’ motion was

not filed within 45 days of service of the amended complaint. Because Fed. R. Civ. P. 6(b) does not

permit district courts to extend time limits prescribed by statute, Defendants’ motion, filed outside

of the time limit, was untimely. Pls.’ Opp’n to Special Mot. at                 3~4~13



           Enforcing The Statutory Deadline Does Not Violate Erie: Nor is there any merit to the argument

that Defendants made in their Reply that, under Erie and its progeny, the D.C. Anti-SLAPP statute’s

45-day limit is a procedural requirement that is somehow inconsistent with “the Court’s inherent

power to manage its docket.” Defs.’ Reply to Special Mot. at                 314   (Doc. 28). To the contrary, the

federal courts’ power to manage the docket has never been held to permit district courts, sitting in

diversity, to extend or disregard strict filing deadlines mandated by state or local statutes. Moreover,

the source of federal courts’ power to extend filing deadlines              —   Rule 6(b)   —   does not permit the

extension of deadlines prescribed by statute. Sherrod v. Breitbart, 720 F.3d 932, 937-38 (D.C. Cir.

2013); Argentine Republic v. Nat’l Grid PLC, 637 F.3d 365, 368 (D.C. Cir. 2011).

           The Anti-SLAPP Procedures Maj Not Be Applied in Federal Goun Even ~fDefendants had filed

their motion within the statutory deadline, this Court would be unable to consider it because the

Act’s procedures for dismissal of a complaint are inconsistent with the federal rules. Abbas, 783

F.3d at 1332; Fairbanks       i.’.   Roller, 314 F. Supp. 3d 85, 93-94 (D.D.C. 2018); Cockrum v. DonaldJ. Trump


13   “Pis.’ Opp’n to Special Mot.” refers to Plaintiffs’ opposition to Defendants’ motion to dismiss under the Act. See
Doc. 24.
14 “Defs.’ Reply to Special Mot.” refers to Defendants’ reply in support of their motion to dismiss under the Act. See

Doc. 28.

                                                            -14-
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for President, Inc., 319 F. Supp. 3d 158, 166 n. 2 (D.D.C. 2018); Deripaska v. Associated Press, No. 17-

 0091-(ESH) (D.D.C. October 17, 2017) (Doc. 16).

            The Anti-SL4PP Statute Does Not Othennise App/y To This Lawsuii~ Finally, even ~,fthe Court

were able to reach the merits of the Anti-SLAPP motion, it would be required to deny it. The Act,

by its own terms, is limited to the protection of the expression of “views” in the public interest.

Defendants, by their own admission, were not expressing any views. They invariably describe CIR

 112 as “report[ing] statements by Russian government officials” and insist that “[n]either Steele nor

Defendants endorse or provide editorial gloss on the reports.” See Defs.’ Special Mot. at 38~39.15

To be sure, in Steele, Judge Epstein permitted Defendants to invoke the Act anyway, reasoning that:

(1) the Act purportedly protects a//speech subject to the First Amendment’s protection [including

factual statements]; and (2) that the Act therefore also protects the publication of factual allegations,

in addition to the expression of “views.” Steele at 14. But Judge Epstein cited no authority for the

notion that the Act encompasses all speech protected by the First Amendment. To the contrary, the

ambit of the Act is not “at least as broad as” (Steele at 14) the First Amendment                 —   the Act covers

only a subset of speech protected by the First Amendment (e.g., expression of views) and only applies

enhanced procedural protections to the expression of that subset of constitutionally protected speech.

If Judge Epstein were correct that the Act covers all speech within the ambit of the First

Amendment, it would cover commercial speech, which it clearly does not. In short, because

Defendants admit that their conduct did not involve any expression of views                  —   a requirement for

invoking the Act      —   their special motion must be denied.




15   “Defs.’ Special Mot.” refers to Defendants’ molion to dismiss under the Act. Doc. 19.

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Dated: November 7, 2018                Respectfully submitted,

                                               Alan S. Lewis
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                                       Attorn~ysfor Plaint~/Js
                                        Mikhail Fridman, et al.




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on this   7th   day of November 2018, I electronically filed and served the

foregoing using the CM/ECF system.


                                                             /s/ A/an S. Lezm~r
                                                         Alan S. Lewis
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     Case 1:17-cv-02041-RJL Document 43 Filed 11/07/18 Page 24 of 26

                                                                                                                                  Filed

                                                                                                                                  D.C.          Superior   Court


Form 1. Notice of Appeal Tax, Civil, Family Court (Except Juvenile Cases), and
                                                                           -




              SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                  NOTICE OF APPEAL (    CROSS APPEAL)
         TAX, CIVIL, FAMILY COURT (EXCEPT JUVENILE CASES), ANI~
                                                            -


                                PROBATE

Superior Court Case Caption:         Mikhalt Fridman, PetrAven, and German Khan v. Orbis Business Intelligence Limited and Christopher Steele



Superior Court Case No.:        2018 CA 002667 B



A.        Notice is given that (person appealing) Plaintiffs Fridman, Aven, and Khan                                                  is
          appealing an order/judgment from the:

          U Tax Division           ~ Civil Division                      U Family Court                      U Probate Division

     1. Date of entry ofjudgment or order appealed from (if more than one judgment or order
        appealed, list all):
          August 20, 2018

     2. Filing date of any post-judgment motion:                   N/A



     3. Date of entry of post-judgment order: N/A

     4. Superior Court Judge:       Judge Anthony C. Epstein




     5. Is the order final (i.e., disposes of all claims and has been entered by a Superior Court
        Judge, not a Magistrate Judge)?           l~1 YES        U NO

                 If no, state the basis for jurisdiction: __________________________________________

                 Has there been any other notice of appeal filed in this case:                              U YES t~’iNO

                 If so, list the other appeal numbers: ___________________________________________

     6. If this case was consolidated with another case in this court, list the parties’ names and
        the Superior Court case number: ____________________________________________________


B.       Type of Case: U Civil I               ~ Civil II              U Landlord and Tenant                         U Neglect

         U Termination of Parental Rights                  U Adoption               U Guardianship                   U Mental Health

         U Probate          U Intervention            U Domestic Relations                      U Mental Retardation

         U Paternity & Child Support                  U Other: ______________________________________

C.        Indicate Status of Case:             ?i Paid                   U In Forma Pauperis                             U CCAN

          Was counsel appointed in the trial court?                    U YES ~ NO

                                     (COMPLETE REVERSE SIDE)
Revised I 1/09
      Case 1:17-cv-02041-RJL Document 43 Filed 11/07/18 Page 25 of 26



 D.        Provide the names, addresses, and telephone numbers of all parties to be served. For
           persons represented by counsel, identify counsel and whom the counsel represents, For
           each person, state whether the person was a plaintiff or defendant in the Superior Court.
           * Attach additional pages if necessary.


        Name                        Address                         Party Status                      Telephone No.
                                                                (Plaintiff, Defendant)
 Kelley C. Bamaby                 950 F. Street, NW             Counsel for Defendants Orbis         202.239.3687
 Aiston & Bird LLP                Washington, D.C. 20004        Business Intelligence and
                                                                Christopher Steele



E.        Identify the portions of the transcript needed for appeal, including the date of the
          proceeding, the name of the Court Reporter (or state that the matter was recorded on tape
          if no Court Reporter was present), the courtroom number where the proceeding was held,
          and the date the transcript was ordered, or a motion was filed for preparation of the
          transcript. *Attach additional pages if needed.


      Date of Proceeding/Portion                        Reporter/Courtroom No.                       Date ordered




r~i Check this box if no transcript is needed for this appeal.
F.        Person filing appeal:                       El Plaintiff Pro Se                  El Defendant Pro Se

                                                      El Third Party/Intervenor                Counsel for Plaintiff

                                                      El Counsel for Defendant

ATTACH A COPY OF THE ORDER, JUDGMENT OR DOCKET ENTRY FROM
WHICH THIS APPEAL IS TAKEN

Kim Hoyt Sperduto                                             Is! Kim Hoyt Sperduto                          416127
Print Name of Appellant/Attorney                                Signature                                    Bar No.



1747 Pennsylvania Ave. NW Suite 1250, WashIngton, DC. 20006             202-408-8900
Address                                                                Telephone Number

*Appellant is responsible for ordering and paying the fee for transcript(s) in the Court Reporting
and Recording Division, Room 5500, If appellant has been granted In Forma Pauperis status, or
had an attorney appointed by the Family Court, and transcript is needed for this appeal, appellant
must file a Motion for Transcript in Court Reporting and Recording Division, Room 5500. That
office number is (202) 879-1009. If that motion is granted, transcript will be prepared at no cost
to appellant.
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                               Q~otttt ot ~ppeat~               F     i:i L

GE~ANI(HAN, et al.,                                              D~TO~:cnLSI~
                                       Appellants,                  COURT OF APPEALS
      v.                                             CAB2667-18

ORBIS BUSINESS INTELLIGENCE
LIMITED, et al.,
                                       Appellees.

                                    ORDER

      On consideration of the parties’ joint motion for an extension of time to file
the briefs, and on consideration of the motions of Kim Hoyt Sperduto, Esquire, that
Alan S. Lewis, Esquire, John J. Walsh, Esquire, and Madelyn K. White, Esquire,
be admittedpro hac vice on behalf of appellants, it is

     ORDERED that the parties’ motion is granted and appellants’ brief and
appendix shall be filed on or before December 10, 2018, and appellees’ brief on or
before January 9, 2019. It is

     FURTHER ORDERED that the motions of Kim Hoyt Sperduto, Esquire, are
granted and the Clerk shall enter the appearance of Alan S. Lewis, Esquire, John J.
Walsh, Esquire, and Madelyn K. White, Esquire, pro hac vice on behalf of
appellants.

                                         BY THE COURT:




                                         ANNA BLACKBURNE-RIGSBY
                                         Chief Judge
